
Turley, J.
delivered the opinion of the court.
In this case, we think, under all the circumstances, the decree divorcing the complainant, ought to be affirmed.
But, we all think, that the attempt to impound the land of the defendant, one half to his own use for life, and one half to his wife’s use for life, with remainder to his children, is not warranted by law. Upon a divorce a vinculo, the wife is entitled to a fair portion of her husband’s estate for her support, and the amount thus to be appropriated, is a matter within the legal direction of the Chancellor; but subject to supervision in this Court.
The Chancellor in this case has given in our estimation too much; one half of the land and the negro woman and her two children.
We, therefore, modify the decree of the Chancellor, by giving to the complainant the negroes specified, for life, without charging her with the maintainance of the two children, given to her by the decree, and at her death, the negroes and their increase to belong to her four children by the defendant, the land to remain, as it is, the property of the defendant. The decree, in all other respects will be affirmed.
